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 5
     Attorney for Defendant
 6   VI TRUONG
 7
 8                               UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      Case No. 2:09-cr-00421 GEB
12                  Plaintiff,                      STIPULATION AND [PROPOSED]
                                                    ORDER RESCHEDULING PARTIES’
13            v.                                    APPEARANCE
14   VI TRUONG,
15              Defendant.
     ______________________________/
16
17            IT IS RESPECTFULLY REQUESTED, by defendant Vi Truong and plaintiff United
18   States of America, through their respective counsel, on behalf of the United States Probation
19   Office, that the Court vacate the currently scheduled date of February 8, 2013, at 9:00 a.m.,
20   and reset it for March 8, 2013, at 9:00 a.m. This request is made on the grounds that the
21   United States Probation Office requests additional time to gather further information
22   //
23   //
24   //
25   //
26   //
27   //
28   //
      Case 2:09-cr-00421-TLN Document 151 Filed 01/10/13 Page 2 of 2


 1   in Mr. Truong’s case.
 2
           IT IS SO STIPULATED
 3
 4   Dated: January 7, 2013            /s/ Douglas Horngrad
                                       DOUGLAS HORNGRAD
 5                                     Attorney for Defendant
                                       VI TRUONG
 6
 7
     Dated: January 7, 2013            /s/ with consent
 8                                     JASON HITT
                                       Assistant United States Attorney
 9
10
     Dated: January 7, 2013            /s/ with consent
11                                     LISA HAGE
                                       United States Probation Officer
12
13
14                                     ORDER
15
16         IT IS SO ORDERED.
17
18   Dated: January 9, 2013
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21                                   GARLAND E. BURRELL, JR.
                                     Senior United States District
22                                   Judge

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